    Case 1:04-cv-00798-PLF-GMH Document 1166-1 Filed 05/16/19 Page 1 of 1


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                                                       May 16, 2019


VIA ELECTRONIC FILING

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

       Re: United States v. All Assets, et. al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

         Alexander Lazarenko has consistently stated, for a variety of reasons already articulated
to this Court, that he will not answer questions at a deposition in Ukraine. The government has
requested that he indicate whether he prefers to be deposed in Kyiv, Ukraine or Lviv, Ukraine.
He does not consider either of those locations to be an acceptable option for the location of his
deposition.
         It would appear to counsel that Mr. Alexander Lazarenko will have a right to be present
in the United States for trial of this matter, and that similarly it should be possible to arrange for
him to come to the United States to be deposed. However, absent additional documentation of
the deposition from the United States, it does not appear that a future visa application is likely to
be approved by the United States.
         Should the government notice a deposition of Mr. Alexander Lazarenko in Ukraine, he
will not answer the questions posed. Counsel proposes that the parties meet and confer to see if
a stipulation as to what Mr. Alexander Lazarenko’s actions would be in response to a deposition
so noticed may suffice to obviate the need for a fruitless trip to Ukraine at substantial expense to
all parties.


                                                       Sincerely yours,

                                                       Emily R. Beckman
